00:10
d /
}!`/?735`1'17 ,_-\
' l _~ C rt Dc m TP
,7 ou room p y
C]j_~f ‘_;"/'/.’_./;, lnitials:

°*d°'F°"“‘°‘/Z°°”Case: 1:06-Cv-03173 Document #: 962 Filed: 02/07/13 Page 1 of 1 Page|D #:35236 66

United States District Court, Northern l)istrict of Illinois

 

Name of Assigned Judge
or Magistrate Judge

Virginia M. Kendall

Sitting Judge if Other
than Assigned .ludge

 

 

 

 

 

 

CASE NUMBER ()6 C 3173 DATE 2/7/2013
CASE PAINE vs. CITY OF CHICAGO, ET AL
TITLE
DOCKET ENTRY TEXT

 

 

l [ For further detail see separate order(s).]

Motion hearing held. Enter order approving settlement of action and dismissal Without prejudice MOTION
by Plaintiff Kathleen Paine for settlement Plaintiff's Motion to Settle Cause of Action [959] is granted

Docketing to mail noticesl

 

 

 

 

 

 

 

06C3]73 PAINE vs. CITY OF CHlCAGO, ET AL

Page l of l

 

